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         EXHIBIT A
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     U.S. Department



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     of Transportation




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     Office of the Sec retary
     of Transportation
                                                                                         DOTOrder
     SUBJECT: ENSURING
     RELIANCE UPON SOUND
     ECONOMIC ANALYSIS IN
     DEPARTMENT OF
     TRANSPORTATION POLICIES,
     PROGRAMS, AND ACTIVITIES



    1. PURPOSE

    This Order updates and resets the principles and standards underpinning U.S. Department of Trans-
    portation (Department or DOT) policies, programs, and activities to mandate reliance on rigorous
    economic analysis and positive cost-benefit calculations and ensure that all DOT grants, loans,
    contracts, and DOT-supported or -assisted State contracts bolster the American economy and bene-
    fit the American people.

    2. CANCELLATION

    None

    3. APPLICABILITY AND SCOPE.

    This Order applies to all the Department's Operating Administrations (OA) and the Departmental
    Offices in the Office of the Secretary of Transportation (OST). 1

    4. EFFECTIVE DATE

    This Order is effective upon its date of execution.

    5. POLICIES.

    The following principles govern the implementation and administration of all DOT policies, pro-
    grams, and activities:

               a. The Department's grantmaking, lending, policymaking, and rulemaking activities
                  shall be based on sound economic principles and analysis supported by rigorous
                  cost-benefit requirements and data-driven decisions. This requirement shall apply


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  The terms "Operating Administration" and "OA" hereinafter refer to both the Department's operating administra-
tions and the OST Departmental Offices.
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               regardless of whether the activities in question fall below the economic threshold
               required for review by the Office of Information and Regulatory Affairs.

          b. To engage in grantmaking, lending, policymaking, or rulemaking, the benefits
             must be estimated to outweigh the costs. The calculation of the "social cost of
             carbon" is marked by logical deficiencies, a poor basis in empirical science,
             politicization, and the absence of a foundation in legislation. Consequently, the
             Administrator of the Environmental Protection Agency has been ordered by the
             President to issue guidance to address these harmful and detrimental
             inadequacies. Prior to issuance of that guidance, DOT shall ensure estimates to
             assess the value of changes in greenhouse gas emissions resulting from agency
             actions, including with respect to the consideration of domestic versus
             international effects and evaluating appropriate discount rates, are, to the extent
             permitted by law, consistent with the guidance contained in 0MB Circular A-4 of
             September 17, 2003 (Regulatory Analysis).

          c. Statutes governing DOT policies, programs, and activities shall be administered to
             identify and avoid, to the extent practicable, relevant, appropriate, and consistent
             with law, adverse impacts on families and communities. Adverse impacts may
             include, but are not limited to, noise; water pollution; soil contamination; a denial
             of or a reduction in transportation services; increased difficulty in raising children
             in a safe and stable environment; and destruction or disruption of community cohe-
             sion, safety, or economic vitality.

          d. Statutes governing DOT policies, programs, and activities shall also be admin-
             istered to maximize, to the extent practicable, relevant, appropriate, and consistent
             with law, benefits for families and communities. The benefits may include, but are
             not limited to, economic opportunities, such as increased access to jobs, healthcare
             facilities, recreational activities, commercial activity, or any actions or project com-
             ponents that will help alleviate poverty, enhance safety, and primarily benefit
             families and communities by improving the quality of their lives, raising their
             standard of living, or enabling them to participate more fully in our economy.

          e. DOT-supported or -assisted programs and activities, including without limitation,
             all DOT grants, loans, contracts, and DOT-supported or -assisted State contracts,
             shall not be used to further local political objectives or for projects and goals that
             are purely local in nature and unrelated to a proper Federal interest. DOT programs
             and activities should instead prioritize support and assistance for projects and goals
             that are consistent with the proper role of the Federal government in our system of
             federalism, have strong co-funding requirements, adhere faithfully to all Federal
             statutory Buy America requirements, and not depend on continuous or future DOT
             support or assistance for improvements or ongoing maintenance.

          f.   To the maximum extent permitted by law, DOT-supported or -assisted programs
               and activities, including without limitation, all DOT grants, loans, contracts, and
               DOT-supported or -assisted State contracts, shall prioritize projects and goals that:
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                     1.   utilize user-pay models;
                    11.   direct funding to local opportunity zones where permitted;
                    m.    to the extent practicable, relevant, appropriate, and consistent with law,
                          mitigate the unique impacts of DOT programs, policies, and activities
                          on families and family-specific difficulties, such as the accessibility of
                          transportation to families with young children, and give preference to
                          communities with marriage and birth rates higher than the national
                          average (including in administering the Federal Transit Administration's
                          Capital Investment Grant program);
                    1v.   prohibit recipients of DOT support or assistance from imposing vaccine
                          and mask mandates; and
                     v.   require local compliance or cooperation with Federal immigration
                          enforcement and with other goals and objectives specified by the Presi-
                          dent of the United States or the Secretary.

 6. RESPONSIBILITIES.

    a. The General Counsel is the chief legal officer of the Department with final authority on all
       questions of law for all components of DOT. The Office of the General Counsel (OGC)
       shall provide the legal advice, support, and guidance necessary to implement and effectuate
       this Order, including via the issuance of additional orders as warranted.

    b. OAs engaged in grantmaking, lending, policymaking, or rulemaking activities shall, in
       coordination and consultation with OGC, implement this Order and determine the most
       effective and efficient way of integrating the principles outlined in this Order with their
       existing regulations and guidance.

    c. In undertaking the integration with existing operations, and in coordination and consulta-
       tion with OGC, OAs shall:

           1. Develop and issue guidance necessary to implement and effectuate this Order, or
              review and update any previously issued guidance to ensure consistency with this
              Order. OAs shall also engage in the notice-and-comment process, as appropriate
              and in accordance with DOT Order 2100.6B (Policies and Procedures for Rule-
              makings) and any corresponding regulations, to implement the requirements of this
              Order.

           2. Update and revise all Notices of Funding Opportunity, grant agreements, loan
              agreements, and other program documents as necessary to ensure compliance with
              Federal law and consistency with this Order.

           3. Review their existing grant agreements, loan agreements, and contracts, and, to the
              extent permitted by law, unilaterally amend the general terms and conditions as
              necessary to ensure compliance with Federal law and consistency with this Order,
              and provide corresponding notice of such to recipients.
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     d. OAs shall prepare a report describing their efforts to comply with this Order and the impact
        of those efforts on their grantmaking, lending, policymaking, and rulemaking activities.
        The first of these reports shall be submitted to OGC no later than six months after the
        effective date of this Order, and each subsequent report shall be due no later than six months
        thereafter.

     e. OAs shall also observe the following principles:

             1. This Order should be implemented in a simple, transparent manner that avoids
                adding unnecessary procedural or regulatory steps or causing undue delay. The
                Order should not be interpreted to impose procedural or regulatory requirements
                that provide no benefit in the decision-making process. The Order should be carried
                out in a manner that considers the impact that delays in project delivery or rule-
                making may have on the economic vitality, safety, and well-being of the American
                people, their families, and communities.

             2. OAs shall strive to promote the economic opportunities of DOT programs, policies,
                and activities for families and communities. Procedures shall be established or
                modified, as necessary, to provide meaningful opportunities for public involvement
                by families and communities during the planning and development of programs,
                policies, and activities (including the identification of potential effects, alternatives,
                and mitigation measures).

             3. DOT shall ensure comprehensive public engagement, including with families and
                community stakeholders, and provide meaningful access to public information
                concerning both the costs and the benefits of DOT programs, policies, or activities.

             4. Compliance with the terms of this Order is an ongoing responsibility. OAs shall
                continuously monitor their programs, policies, and activities to ensure they are
                administered in a manner consistent with this Order. This Order does not alter exist-
                ing assignments or delegations of authority to the Operating Administrations or
                other DOT components.

 7. DISCLAIMER.

 This Order is intended to improve the internal management of DOT and is not intended to, nor
 does it, create any rights, benefits, or trust responsibility, substantive or procedural, enforceable at
 law or equity, by a party against the Department, its OAs, its officers, or any person. Nor should
 this Order be construed to create any right to judicial review involving the compliance or noncom-
 pliance with this Order by the Department, its Operating Administrations, its officers or any other
 person.
